          Case 1:23-cr-00016-JEB Document 50 Filed 07/10/23 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                        Case No. 1:23-cr-016 (JEB)
                           )
FRANK ROCCO GIUSTINO,      )
                           )
                Defendant. )


             CONSENT MOTION TO CONTINUE SENTENCING HEARING
               AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

     Comes now the Defendant, FRANK ROCCO GIUSTINO, by and through undersigned

counsel, and respectfully moves this court to adjourn the sentencing hearing set for Thursday, July

13, 2023, in the above-captioned matter, until September 18, 2023 or thereafter. Government

counsel consents to this continuance motion. The Defendant requests the additional time in the

interests of justice and for good cause, and Mr. Giustino supports his request as follows:

I.     FACTS

       Mr. Giustino was arrested on January 11, 2022 in New York on a complaint for actions on

January 6, 2021. He was released on bond but not charged with any crime for over a year while

the case remained open with the magistrate with no motion to dismiss. He was charged on January

11, 2023 by Information filing. ECF No. 31.

       On or by January 18, 2023 his attorney requested and was granted a plea hearing for

February 1, 2023. He received a plea offer from the government on or about January 28, 2023. Mr.

Giustino's former attorney presented him with the plea offer and Statement of the Offense on or

about 10:00 a.m. February 1, 2023 at an office meeting. Mr. Giustino was arraigned and then pled

guilty to Count 4 of the Information, 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or

Picketing in a Capitol Building) at the hearing before His Honor at 11:00 a.m. on February 1, 2023.
          Case 1:23-cr-00016-JEB Document 50 Filed 07/10/23 Page 2 of 4




In apparent error, neither the signed plea agreement nor the Statement of Facts were entered in the

public docket in PACER.

       Sentencing was set for May 2, 2023. On April 17, 2023, Mr. Giustino's former attorney

moved for a continuance of sixty days, unopposed, to allow him to continue preparing the

Sentencing Memorandum in support of the Defendant. ECF No. 35. Sentencing was reset to June

16, 2023. Mr. Giustino's former attorney requested on June 9, 2023 that the June 16, 2023 hearing

be converted to a status conference. ECF No. 41. The Defendant failed to appear, and the

conference was reset for June 23, 2023 where Mr. Sugar was terminated as Mr. Giustino's attorney,

and sentencing was reset for July 13, 2023.


II.    DISCUSSION

       Mr. Giustino realized after assessment and despite his belief on June 23, 2023 - given what

had or had not been provided to him by his former attorney and his unintended ability to write and

speak outside the accepted decorum of this Court - that he needed assistance. Mr. Giustino's

mistake in believing he could represent himself had a base in anxiety that he will work on

proceeding forward. He apologizes for untoward language and speech. He reached out seeking

legal advice after realizing that he was mistaken in believing he could represent himself. He

decided by this past weekend that he would be better served with representation than by attempting

to proceed pro se even with legal advice by others.

       As to being able to prepare, counsel admits not being able to properly represent Mr.

Giustino on July 13, 2023. A crash preparation effort is not feasible. Mr. Sugar, former attorney,

affirmed today that he had not written a draft or any version of the sentencing memorandum. With

not even a draft, Mr. Giustino admits he is unskilled in the legal arguments and factors that should

be addressed. Additionally, Mr. Giustino was never provided the Presentence Investigation



                                                 2
          Case 1:23-cr-00016-JEB Document 50 Filed 07/10/23 Page 3 of 4




Report. As such, it has never been reviewed for error or for objection. As of this writing and today's

appearance by the undersigned, Mr. Giustino for one reason or another had not been provided

discovery as previously requested, including videos that he believes show some exculpatory

information as to his behavior on January 6, 2021. Because of the lack of case material and skill,

Mr. Giustino will be prejudiced in trying to move forward on his own should a continuance be

denied, while undersigned counsel asks this honorable Court to continue the date so she may

properly prepare, defend, and represent him.

       As importantly to the reasons above is the timely provision of a sentencing memorandum

where the Court can receive and read it. The continuation time frame includes an allowance for

Mr. Giustino's sentencing memorandum, as well as any objection the Government may consider

providing in writing. The undersigned wishes to advise the Court that schedule-wise, she is in the

midst of preparation for a trial that begins on August 7, 2023. That trial will be followed by another

consuming legal matter (one not before the U.S. District Court for DC) until September 5, 2023.


III.   CONCLUSION

       Because of schedule conflicts and the requirement to properly prepare and represent Mr.

Giustino, the undersigned requests that the Court continue the sentencing, with time allowed after

September 5, 2023 for Defense review of discovery, completion of the sentencing memorandum,

and provision of objections if necessary for the Presentence Investigation Report.

       Wherefore for good cause and in the interest of the ends of justice, the Court should

approve the continuance, and the attached, proposed order. The parties request that the Court

exclude the time until the sentencing hearing, pursuant to 18 U.S.C. § 3161 et seq., on the basis

that the ends of justice served by taking such actions outweigh the best interest of the public and

the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).



                                                  3
         Case 1:23-cr-00016-JEB Document 50 Filed 07/10/23 Page 4 of 4




Dated July 10, 2023                         Respectfully submitted,

                                            /s/ Carolyn A. Stewart
                                            Carolyn A. Stewart, Bar No. FL-0098
                                            Defense Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify on the 10th day of JULY 2023, a copy of the foregoing was served upon

all parties as forwarded through the Electronic Case Filing (ECF) System.

                                     /s/ Carolyn Stewart Esq.
                                     Carolyn Stewart, Esq.




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